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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 KELLEY AMADEI, CAROLA CASSARO, LAURA
 CUCULLU, COREY FIELDS, ANNE GARRETT, AMY
 LANIGAN, MATT O’ROURKE, ERIC POLK, and
 KAREN POLK,                                                                            NOTICE OF
                                                                                        APPEARANCE
                                         Plaintiffs,
                                                                                        Civil Action No.
                               -against-                                                17-CV-5967

 ELAINE DUKE, Acting Secretary of Homeland Security,                                    (Garaufis, J.)
 named in her official capacity,                                                        (Scanlon, M.J.)

 KEVIN K. MCALEENAN, Acting Commissioner, U.S.
 Customs and Border Protection, named in his official
 capacity,

 LEON HAYWARD, Acting Director, New York Field
 Operations, U.S. Customs and Border Protection,
 named in his official capacity,

 FRANCIS J. RUSSO, Port Director, JFK International
 Airport Port of Entry, U.S. Customs and Border
 Protection, named in his official capacity,

 THOMAS HOMAN, Acting Director, U.S. Immigration
 And Customs Enforcement, named in his official capacity,

 THOMAS DECKER, Director, New York Field Office,
 Enforcement and Removal Operations, U.S. Immigration
 And Customs Enforcement, named in his official capacity,

 DAVID JENNINGS, Director, San Francisco Field Office,
 Enforcement and Removal Operations, U.S. Immigration
 and Customs Enforcement, named in his official capacity,

 JOHN DOES 1 and 2, U.S. Customs and Border Protection
 officers, named in their official capacity,

                                         Defendants.

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Case 1:17-cv-05967-NGG-VMS Document 50 Filed 09/07/18 Page 2 of 2 PageID #: 595



               PLEASE TAKE NOTICE that Assistant United States Attorney Matthew J.

 Modafferi hereby appears in the above-captioned action as counsel for defendants Elaine Duke,

 Kevin K. McAleenan, Leon Hayward, Francis J. Russo, Thomas Homan, Thomas Decker, and

 David Jennings.   The undersigned certifies that he is admitted to practice in this Court.

 Dated: Brooklyn, New York
        September 7, 2018

                                              RICHARD P. DONOGHUE
                                              United States Attorney

                                      By:                   /s/
                                              Matthew J. Modafferi
                                              Assistant U.S. Attorney
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